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                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                         WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
      Plaintiff,                             )
                                             )
vs.                                          )     7:20-cr-00035-LSC-JHE
                                             )
                                             )
                                             )
KENDRELL EMONS MILLS,                        )
                                             )
      Defendant.                             )

                   MEMORANDUM OF OPINION AND ORDER

      The defendant has filed a motion to suppress. (Doc. 19.) After conducting an

evidentiary hearing, the magistrate judge filed a report and recommendation,

recommending that the motion to suppress be denied. (Doc.48.) The defendant has

objected. (Docs. 68, 71.) The Government has responded in opposition to the

objections. (Doc. 75.)

      Having now carefully reviewed and considered de novo all the materials in the

court file, including the report and recommendation and the objections thereto, the

Court is of the opinion that the report is due to be and hereby is ADOPTED, the

recommendation is ACCEPTED. Consequently, the motion to suppress (doc. 19)

is hereby DENIED.


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DONE and ORDERED on January 12, 2021.




                              _____________________________
                                        L. Scott Coogler
                                   United States District Judge
                                                                    160704




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